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        EXHIBIT A
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      Court of Common Pleas of Philadelphia County                                               For Prothonotary Use Only (Docket Number)
                    Trial Division
                   Civil Cover Sheet                                        E-Filing Number:   2005005845
PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 FERDINAND BENJAMIN                                                           JBS S.A.

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 957 ANCHOR STREET                                                            AVENIDA BRIG FARIA LIMA                     2.391 2 ANDAR JD
 PHILADELPHIA PA 19124                                                        PAULISTANO
                                                                              SAO PAULO

PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 FERDINAND BENJAMIN                                                           JBS USA FOOD COMPANY

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 957 ANCHOR STREET                                                            1770 PROMONTORY CIRCLE
 PHILADELPHIA PA 19124                                                        GREELEY CO 80634


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
                                                                              JBS USA HOLDINGS, INC.

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
                                                                              1770 PROMONTORY CIRCLE
                                                                              GREELEY CO 80634


TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS        COMMENCEMENT OF ACTION
                                                                       X Complaint                  Petition Action                     Notice of Appeal
               2                                     5
                                                                          Writ of Summons           Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY          COURT PROGRAMS

                                 Arbitration                     Mass Tort                           Commerce                        Settlement
    $50,000.00 or less         X Jury                            Savings Action                      Minor Court Appeal              Minors
 X More than $50,000.00          Non-Jury                        Petition                            Statutory Appeals               W/D/Survival
                                 Other:
CASE TYPE AND CODE

  2O - PERSONAL INJURY - OTHER

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                        IS CASE SUBJECT TO
                                                                                                                      COORDINATION ORDER?
                                                                                                                                  YES         NO


                                                                   MAY 07 2020
                                                                       A. SILIGRINI

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: FERDINAND BENJAMIN , FERDINAND
                                                                        BENJAMIN
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                      ADDRESS

 ROBERT J. MONGELUZZI                                                        ONE LIBERTY PLACE 52ND                        FLOOR
                                                                             1650 MARKET ST.
PHONE NUMBER                            FAX NUMBER                           PHILADELPHIA PA 19103
 (215)496-8282                          (215)496-0999

SUPREME COURT IDENTIFICATION NO.                                           E-MAIL ADDRESS

 36283                                                                       VSmith@smbb.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                      DATE SUBMITTED
 ROBERT MONGELUZZI                                                           Thursday, May 07, 2020, 08:34 am

                                                  FINAL COPY (Approved by the Prothonotary Clerk)
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COMPLETE LIST OF DEFENDANTS:
    1. JBS S.A.
         AVENIDA BRIG FARIA LIMA 2.391 2 ANDAR JD PAULISTANO
         SAO PAULO
    2. JBS USA FOOD COMPANY
         1770 PROMONTORY CIRCLE
         GREELEY CO 80634
    3. JBS USA HOLDINGS, INC.
         1770 PROMONTORY CIRCLE
         GREELEY CO 80634
    4. JBS SOUDERTON, INC.
         ALIAS: C/O CORPORATION SERVICE COMPANY
         2595 INTERSTATE DRIVE SUITE 103
         HARRISBURG PA 17110
    5. PILGRIMS PRIDE CORPORATION
         ALIAS: C/O CORPORATION SERVICE COMPANY
         2595 INTERSTATE DRIVE SUITE 103
         HARRISBURG PA 17110
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SALTZ MONGELUZZI & BENDESKY P.C.                             Filed and Attested by the
BY: ROBERT J. MONGELUZZI/STEVEN G. WIGRIZER                 Office of Judicial Records
        JEFFREY P. GOODMAN/JASON S. WEISS                       07 MAY
                                                         ATTORNEYS     2020
                                                                     FOR    08:34 am
                                                                         PLAINTIFF
                                                                    A. SILIGRINI
Identification No.: 36283/30396/309433/310446
1650 Market Street, 52nd Floor
Philadelphia, PA 19103
(215) 496-8282

FERDINAND BENJAMIN, Individually
and as the Personal Representative of the   PHILADELPHIA COUNTY
Estate of ENOCK BENJAMIN, Deceased          COURT OF COMMON PLEAS
957 Anchor Street                           LAW DIVISION
Philadelphia, PA 19124

                  Plaintiff
                                            MAY TERM, 2020
                     v.
                                            NO.: __________
JBS S.A.
Avenida Brig Faria Lima 2.391 2
Andar Jd Paulistano
Sao Paulo, SP 01452-000 Brazil              JURY OF 12 DEMANDED

                    And

JBS USA FOOD COMPANY                        THIS IS NOT AN ARBITRATION
1770 Promontory Circle,                     MATTER
Greeley, CO 80634

                    And

JBS USA HOLDINGS, INC.
1770 Promontory Circle
Greeley, CO 80634

                    And




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   JBS SOUDERTON, INC.
   c/o Corporation Service Company
   2595 Interstate Drive, Suite 103
   Harrisburg, PA 17110

                                     And


   PILGRIM’S PRIDE CORPORATION
   c/o Corporation Service Company
   2595 Interstate Drive, Suite 103
   Harrisburg, PA 17110


                                Defendants



                                                          NOTICE TO DEFEND
                                  NOTICE                                                                    AVISO

  You have been sued in court. If you wish to defend against the          Le han demandado a usted en la corte. Si usted quiere defenderse de estas
claims set forth in the following pages, you must take action within     demandas expuestas en las páginas siguientes, usted tiene veinte (20) días de
twenty (20) days after this complaint and notice are served, by          plazo al partir de la fecha de la demanda y la notificación. Hace falta asentar
entering a written appearance personally or by attorney and filing in    una comparecía escrita o en persona o con un abogado y entregar a la corte en
writing with the court your defenses or objections to the claims set     forma escrita sus defensas o sus objeciones a las demandas en contra de su
forth against you. You are warned that if you fail to do so the case     persona. Sea avisado que si usted no se defiende, la corte tomará midas y
may proceed without you and a judgment may be entered against you        puede continuar la demanda en contra suya sin previo aviso o notificación.
by the court without further notice for any money claimed in the         Además, la corte puede decidir a favor del demandante y requiere que usted
complaint or for any other claim or relief requested by the plaintiff.   cumpla con todas las provisiones de esta demanda. Usted puede perder dinero
You may lose money or property or other rights important to you.         o sus propiedades u otros derechos importantes para usted.
                                                                         LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATA-MENTE. SI
YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT                             NO TIENE ABOGADO O SINO TIENE EL DI-NERO SUFICIENTE DE
ONCE. IF YOU DO NOT HAVE A LAWYER OR CANNOT                              PAGAR TAL SERVICO, VAYA EN PERSONA O LLAME POR
AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET                            TELEPHONO A LA OFICINA CUYA DIRECCIÓN SE ENCUENTRA
FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL                          ESCRITA ABAJO PARA AVERIGUAR DONDE SE PUDE CONSEGUIR
HELP.                                                                    ASISTENCIA LEGAL.

         PHILADELPHIA BAR ASSOCIATION                                              ASOCIACIÓN DE LICENCIADOS DE FILADELFIA
     LAWYER REFERRAL AND INFORMATION SERVICE                                      SERVICIO DE REFERENCIA E INFORMACIÓN LEGAL
                1101 MARKET STREET                                                           1101 CALLE DE MERCADO
               PHILADELPHIA, PA 19107                                                          FILADELFIA, PA 19107
              TELEPHONE: (215) 238-6333                                                      TELÉFONO: (215) 238-6333




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                               COMPLAINT – CIVIL ACTION

                                           Introduction

       1.       This wrongful death and survival action concerns the negligent, reckless, and

outrageous conduct of JBS, the largest beef processing company in the world, because it elected

to pursue profits over safety during a global pandemic.

       2.       On April 3, 2020, Enock Benjamin died of respiratory failure caused by the

pandemic virus, COVID-19.




                                                                              ’

       3.       At the time of his death, Mr. Benjamin was a union steward at the JBS meat

processing plant in Souderton, PA.

       4.       Enock Benjamin was known as the “go-to-man” for JBS Souderton employees

and as a “champion of the people” by his colleagues.

       5.       Co-workers have also publicly described Mr. Benjamin as a man “who did so

much to defend the rights of his colleagues . . . he loved to work, and he worked until the last

moment he could.”

       6.       Enock Benjamin’s death was the predictable and preventable result of the JBS

Defendants’ decisions to ignore worker safety.

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       7.       The JBS Defendants ignored federal guidance and put plant workers in the

crosshairs of a global pandemic.

       8.       Despite the known risks regarding COVID-19, prior to shutting down the plant on

March 30, 2020, the JBS Defendants: (1) failed to provide sufficient personal protective

equipment; (2) forced workers to work in close proximity; (3) forced workers to use cramped

and crowded work areas, break areas, restrooms, and hallways; (4) discouraged workers from

taking sick leave in a manner that had sick workers in fear of losing their jobs; and (5) failed to

properly provide testing and monitoring for individuals who have may have been exposed to the

virus that causes COVID-19.

       9.       Instead, at the Souderton facility where Mr. Benjamin worked, JBS increased

production during March 2020, adding a “Saturday Kill” to capitalize on increased demand

caused by public panic purchases of ground meat.

       10.      During this critical timeframe in March 2020, Mr. Benjamin contracted COVID-

19 while working at JBS Souderton because the JBS Defendants inexplicably failed to take

proper safety precautions to protect workers.

       11.      By keeping the Souderton plant open without providing the proper and

recommended safety precautions, JBS intentionally misrepresented the safety of the facility.

       12.      By choosing profits over safety, JBS demonstrated a reckless disregard to the

rights and safety of others, including Enock Benjamin.

                              FACTS COMMON TO ALL COUNTS
                                       A Global Pandemic

       13.      COVID-19 is an infectious respiratory disease which is caused by a virus known

as “the novel coronavirus.”

       14.      The virus which caused COVID-19 is highly contagious.

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       15.     The virus spreads mainly person-to-person, primarily through coughs or sneezes

from an infected person in close proximity to another.

       16.     The virus is especially dangerous because it can be spread by people who are

asymptomatic or pre-symptomatic.

       17.     For these reasons, the preferred mechanism to combat the virus has been

widespread “stay-at-home” orders to prevent being exposed to the novel coronavirus.

       18.     On January 21, 2020, the United States reported its first case of the novel

coronavirus.

       19.     By this time, it was widely reported that the virus had already spread across Asia

and Europe.

       20.     On January 30, 2020, the United States reported its first case of COVID-19

acquired via community spread.

       21.     In this context, it has been stated that “community spread” means “that people

have been infected with the virus in an area, including some who are not sure how or where they

became infected.”

       22.     On January 31, 2020, the World Health Organization (“WHO”) declared COVID-

19 a “public health emergency of international concern.”

       23.     On March 9, 2020, with over 500 COVID-19 infections in the United States, the

CDC published federal guidelines for workers.

       24.     These guidelines included recommendations for social distancing of at least 6

feet, and the use of Personal Protective Equipment (“PPE”) for workers.




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       25.     The same day, March 9, 2020, OSHA released its own guidelines, recommending

that companies should offer surgical masks or respirators to workers who could be infected with

COVID-19, especially those that worked in close quarters:




             OSHA “Guidance on Preparing Workplaces for COVID-19,” March 9, 2020

       26.     Despite this guidance, the JBS Defendants did not obtain masks or other PPE for

their workers until April 2, 2020, when there already were over 240,000 confirmed COVID-19

infections in the United States, and 5,794 confirmed deaths.

       27.     Despite the clear danger that COVID-19 posed for its workers, the JBS

Defendants did not mandate the use of masks and/or PPE for their workers until April 14, 2020

when there were already 585,909 confirmed COVID-19 infections in the United States, and

23,577 confirmed deaths.

       28.     At the time of this filing, there are at least 1,168,896 confirmed cases in the

United States with over 70,000 deaths attributable to COVID-19 during this pandemic.

              Meat Processing Plants – A Melting Pot for the Spread of Infection

       29.     Meat processing plants are known to be “notoriously dangerous.”

       30.     Meatpacking plants present unique safety issues because of the proximity within

which employees work (“elbow-to-elbow”) using cutting tools and in a challenging environment.

       31.     In 2009, the spread of the H1N1 virus put meat processing plants on notice of the

dangerous conditions that the spread of airborne virus posed to their workers.




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        32.     As recently as 2016, regulations were promulgated to promote worker’s safety to

protect against airborne illness at the plants.

        33.     The enhanced coverage of meat processing plants that has occurred as a result of

the COVID-19 pandemic highlighted the pre-existing dangerous conditions which workers were

exposed to at these plants.

        34.     One report quotes plant workers as stating that “we’re modern slaves.”

        35.     Meat processing plant workers have been quoted as stating that “the workers are

being sacrificed” in recent media coverage.

        36.     Meat processing plants pose specific challenges regarding physical distancing of

workers that JBS needed to assess and accommodate before allowing work to continue.

                       Pennsylvania’s Plants – Most Infected in the Nation

        37.     As of May 1, 2020, Pennsylvania had more recorded coronavirus cases among

meat plant workers than any other state.

        38.     As of that same date, there were 858 confirmed COVID-19 cases from workers at

meat processing plants in Pennsylvania.

        39.     That number will steadily increase as time progresses, and tragically, Enock

Benjamin’s death will not be the last.

                                         The JBS Defendants

        40.     Defendants, JBS S.A., JBS USA Food Company, JBS USA Holdings, Inc., JBS

Souderton, Inc., and Pilgrim’s Pride Corporation, are herein collectively referred to as the “JBS

Defendants” and/or “JBS”.

        41.     JBS, a multinational corporation, is the world’s largest meat processor.

        42.     JBS beef products fill the shelves of grocery stores across the United States.



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       43.     With such an important role in the food supply chain, safety should be of

paramount concern to JBS.

       44.     However, based upon publicly available information, JBS has consistently placed

profits over safety.

       45.     A review of OSHA statistics for 14,000 participating companies described

“17,533 incidents of the most severe work-related injuries [‘work-related amputations or

hospitalizations’] during the period from January 2015 through September 2016.”

       46.     JBS had the sixth (6th) most severe injuries reported from that survey.

                                       JBS Souderton Plant

       47.     In 2008, Enock Benjamin started working at the JBS Plant in Souderton, PA.

       48.     JBS Souderton is known as “a big player in the Eastern beef market” because JBS

USA claims that it is the largest beef facility east of Chicago.

       49.     JBS Souderton has approximately 1,400 employees and specializes in beef

processing and packaging.

       50.     Every day hundreds of workers report to the plant floor for work in close

proximity involving extremes of temperature, dampness, and hazardous footing.

       51.     A large percentage of the workers are immigrants, which results in company-wide

communications regularly required to be translated in Spanish, Arabic, and Haitian Creole.

       52.     Enock Benjamin was of Haitian descent.

       53.     Workers stand only a few feet apart and, because of the volume of the machines at

The Plant, are required to stand within inches of each other to communicate. A typical meat

packing and processing line is depicted below:




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                             The COVID-19 Pandemic in the United States

       54.     Recently, Carmen Dominguez, a union steward at the JBS Souderton facility,

described the working conditions as follows:

         “On a normal day, work at a meatpacking plant is not easy. The
         slaughterhouse is boiling hot. People who aren’t used to the temperature can
         feel as if they are experiencing high blood pressure. The freezer is super cold
         and will amplify any flulike symptoms. Workers wear as many layers as they
         can to stay warm, but it is difficult.”

       55.     In 2019, a worker died on the job at JBS Souderton, resulting in OSHA making

workplace safety recommendations for the facility.

       56.     Based upon information and belief, the culture at JBS Souderton resulted in

workers coming to work sick for fear of losing their job if missing multiple days of work.

       57.     Based upon information and belief, by early March the virus was firmly

established in the Souderton plant.

       58.     The March 9, 2020 OSHA guidance specifically instructed workplaces to send

sick workers home:




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         OSHA “Guidance on Preparing Workplaces for COVID-19,” March 9, 2020

       59.     Despite the skyrocketing risk of COVID-19 infections for workers, the JBS

Defendants ignored the safety of workers and required them to report for duty each day in

cramped conditions and without adequate PPE.

       60.     Despite these known risks, the JBS Defendants refused to close their plants or

otherwise limit the number of workers reporting for duty each day.

       61.     Based upon information and belief, as of March 2020 many employees were led

to believe that the individuals who were out sick had the flu, not COVID-19.

       62.     Based upon information and belief, upon learning of the first positive COVID

individual in the facility in early March 2020, JBS failed to change its policies and procedures.

       63.     Based upon information belief, instead of implementing proper safety policies and

procedures, due to increased business demands in March 2020, JBS Souderton added a

“Saturday Kill” to meet increased demand in ground beef sales.

       64.     Based upon information and belief, after the first positive COVID-19 result, JBS

sent a letter to “Souderton Team Members” stating that “one of our team members has tested

positive for COVID-19 after exhibiting flu-like symptoms.”

       65.     Based upon information and belief, the only employees who were given off work

after this test were “team members who were in direct contact with the individual for extended

periods of time.”



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       66.      Based upon information and belief, after the first positive COVID-19 result, JBS

Souderton team members were informed that “Our Souderton facility will remain open."

       67.      One union steward described publicly described the conditions in the plant prior

to the shut down as follows:

         “Before this closure, people had started to panic. Social distancing was
         limited. Employees didn’t cover their mouths. In meatpacking plants,
         workers are piled up on top of one another, often touching because there are
         so many of us. Many decided to stay at home on leave because they were
         afraid of becoming infected or of spreading the coronavirus to their
         families.”

       68.      On March 27, 2020, the Souderton facility closed for sanitation after multiple

workers had fallen ill.

       69.      At that time, there were over 2,000 confirmed cases of COVID-19 in

Pennsylvania.

       70.      On March 30, 2020, JBS USA stated publicly that it was “temporarily” reducing

production after several senior management team members displayed flu-like symptoms: “The

JBS Souderton, Pa., beef production facility has temporarily reduced production because several

senior management team members have displayed flu-like symptoms.”

       71.      As of this date, JBS USA publicly claimed that it only had “four or five”

confirmed COVID-19 cases among its hourly workers at the time of closure.

       72.      JBS spokesperson Cameron Bruett stated that the shutdown was “out of an

abundance of caution[.]”

       73.      Based upon information and belief, workers were outspoken about the lack of

safety equipment prior to the plant shutting down.

       74.      Based upon information and belief, employees did complain about the lack of

masks prior to the shutdown.


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          75.   Based upon information and belief, workers complained about bring COVID-19

home to their families before the shutdown.

          76.   Based upon media reports, by April 2, 2020, there were nineteen (19) employees

that were confirmed to test positively at the Souderton plant.

                                   COVID-19 Infections at all JBS Plants

          77.   COVID-19 spread quickly through the JBS Defendants’ meat packing plants.

          78.   Despite the clear and present danger the virus presented, JBS Defendants kept

their facilities across the United States open or shuttered them only temporarily, even after

hundreds of workers fell ill and others died.

          79.   Based upon information and belief, the JBS Defendants had a ‘work while sick’

policy.

          80.   The JBS Defendants did not require workers experiencing COVID-19 symptoms

to report their illness to their superiors.

          81.   The JBS Defendants did not require these workers to self-quarantine at home,

despite federal guidance to the contrary.

          82.   In a demonstration of placing profits over safety, the JBS Defendants ignored the

health of their vulnerable workers and did not shut any plants prior to March 30, 2020 despite a

mountain of evidence of a public safety concern of unforeseen magnitude.

          83.   JBS operates scores of beef plants nationwide.

          84.   JBS USA has experienced COVID-19 outbreaks at least at seven (7) of those

plants; Souderton, Pennsylvania; Greeley, Colorado; Plainwell, Michigan; Green Bay,

Wisconsin; Cactus, Texas; Worthington, Minnesota and Grand Island, Nebraska.




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       85.     On April 14, 2020, JBS USA had to shut down the facility in Greeley, CO

because of the coronavirus outbreak.

       86.     “While the Greeley beef facility is critical to the U.S. food supply and local

producers, the continued spread of coronavirus in Weld County requires decisive action,” said

Andre Nogueira, CEO of JBS USA.

       87.     However, according to media reports, despite experiencing “increased

absenteeism” at other plants, JBS continued to operate “the majority of its facilities across the

country at or near capacity.”

       88.     A simultaneously released statement on behalf of JBS addressed absenteeism as

follows: “When COVID-19 is prevalent in the community, fear is heightened, absenteeism rises,

and the challenge of keeping the virus out becomes greater . . . when absenteeism levels become

too high, facilities cannot safely operate.”

                                  The Death of Enock Benjamin

       89.     Based upon information and belief, up to and including March 27, 2020, workers

at JBS Souderton were still not required to wear masks and/or other PPE, despite CDC and

OSHA guidance to the contrary.

       90.     Based upon information and belief, up to and including March 27, 2020, workers

at JBS Souderton were still required to work within 6 feet of one another, despite CDC and

OSHA guidance to the contrary.

       91.     Based upon information and belief, up to and including March 27, 2020, workers

at JBS Souderton were not required to report to their superiors if they were experiencing

COVID-19 symptoms.




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       92.      Based upon information and belief, when Enock Benjamin last arrived for work at

the JBS Souderton Plant on March 27, 2020, a number of his co-workers had already become

infected.

       93.      On March 27, 2020, Enock Benjamin left JBS Souderton after experiencing

cough-like symptoms.

       94.      Over the next week, Enock Benjamin’s condition continued to worsen and

breathing became nearly impossible.

       95.      On April 3, 2020, Enock Benjamin’s son, Ferdinand, called EMTs to assist

Enock, who was unable to breathe.

       96.      Enock Benjamin died in his son’s arms before the ambulance arrived.

       97.      An autopsy report confirmed the Enock Benjamin died from respiratory

complications related to COVID-19.

       98.      Mr. Benjamin’s death was the predictable and preventable result of the JBS

Defendants’ failures to consider the safety of their workers.

       99.      The Defendants knew, or in the exercise of a reasonable degree of care, should

have known that if OSHA and CDC guidance were not followed, workers would become

infected with and could succumb to COVID-19.

       100.     Instead, the JBS Defendants placed profits over safety.

       101.     As a result of the JBS Defendants’ outrageous, reckless, and grossly negligent

actions which demonstrated a total disregard for the workers’ safety, Enock Benjamin became

infected with COVID-19 at JBS Souderton.

       102.     Mr. Benjamin died only days after leaving JBS Souderton for the last time.




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          103.   The JBS Defendants actions demonstrated a knowing willingness to sacrifice the

health of Mr. Benjamin and others for its’ own corporate greed.

                           Present Safety Conditions at JBS Souderton

          104.   On April 20, 2020, the JBS Souderton plant re-opened in Pennsylvania.

          105.   Based upon information and belief, JBS provided masks, a shield, and gloves

upon re-opening.

          106.   JBS has failed to state publicly why these materials were not provided at JBS

Souderton prior to the March 30, 2020 shutdown.

          107.   Based upon information and belief, upon re-opening JBS is not regularly or

consistently taking employee temperatures.

          108.   Moreover, based upon information and belief, upon reopening JBS was still not

providing COVID-19 testing for all those at the facility.

          109.   A JBS Spokesperson stated that any worker who does not qualify as high-risk, but

is concerned about contracting COVID-19 “can choose to self-quarantine and take unpaid

leave.”

          110.   JBS’ failure to even presently enforce necessary safety policies and procedures

demonstrate a continued failure to respect and appreciate the threat of harm to the public that the

continued unsafe operation of meat plants pose.

                                           The Parties
          111.   Plaintiff, Ferdinand Benjamin, is an adult individual and a citizen of the

Commonwealth of Pennsylvania residing at the above captioned address.




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         112.     Ferdinand Benjamin brings this suit as the Personal Representative1 of the Estate

of Enock Benjamin, on his own behalf and on behalf of all statutory beneficiaries, and as the

personal representative of Enock Benjamin.

         113.     Enock Benjamin was, at all relevant times, an adult citizen of the Commonwealth

of Pennsylvania, residing in Philadelphia County.

         114.     Defendant, JBS S.A., is a corporation organized and existing under the laws of

Brazil, with a principal place of business at the above captioned address.

         115.     At all times relevant to this cause of action, JBS S.A. was engaged in business

within the Commonwealth of Pennsylvania on a regular, systematic, continuous, and substantial

basis.

         116.     At all times relevant to this cause of action, JBS S.A. regularly conducted

business in Philadelphia County.

         117.     At all relevant times, JBS S.A. was acting by and through its agents, servants

and/or employees, who were acting within the course and scope of their agency, service, and

employment with JBS S.A.

         118.     Defendant, JBS USA Food Company (“JBS USA”), is a corporation organized

and existing under the laws of the state of Delaware, with a principal place of business at the

above captioned address.

         119.     At all times relevant to this cause of action, JBS USA was engaged in business

within the Commonwealth of Pennsylvania on a regular, systematic, continuous, and substantial

basis.




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       Due to COVID-19 restrictions, at present the Register of Wills of Philadelphia County is only entertaining
emergency applications. Letters of Administration will be obtained at the first reasonable opportunity.

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       120.    At all times relevant to this cause of action, JBS USA regularly conducted

business in Philadelphia County.

       121.    At all relevant times, JBS USA was acting by and through its agents, servants

and/or employees, who were acting within the course and scope of their agency, service, and

employment with JBS USA.

       122.    Defendant, JBS USA Holdings, Inc. (“JBS Holdings”), is a corporation organized

and existing under the laws of the state of Delaware, with a principal place of business at the

above captioned address.

       123.    At all times relevant to this cause of action, JBS Holdings was engaged in

business within the Commonwealth of Pennsylvania on a regular, systematic, continuous, and

substantial basis.

       124.    At all times relevant to this cause of action, JBS Holdings regularly conducted

business in Philadelphia County.

       125.    At all relevant times, JBS Holdings was acting by and through its agents, servants

and/or employees, who were acting within the course and scope of their agency, service, and

employment with JBS Holdings.

       126.    Defendant, JBS Souderton, Inc. (“JBS Souderton”), is a corporation organized and

existing under the laws of the Commonwealth of Pennsylvania, with an address for service at the

above captioned address.

       127.    At all times relevant to this cause of action, JBS Souderton was engaged in

business within the Commonwealth of Pennsylvania on a regular, systematic, continuous, and

substantial basis.




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       128.    At all times relevant to this cause of action, JBS Souderton regularly conducted

business in Philadelphia County.

       129.    At all relevant times, JBS Souderton was acting by and through its agents,

servants and/or employees, who were acting within the course and scope of their agency, service,

and employment with JBS Souderton.

       130.    Defendant, Pilgrim’s Pride Corporation (“Pilgrim’s Pride”), is a corporation

organized and existing under the laws of the state of Delaware, with an address for service at the

above captioned address.

       131.    At all times relevant to this cause of action, Defendant Pilgrim’s Pride was

engaged in business within the Commonwealth of Pennsylvania on a regular, systematic,

continuous, and substantial basis.

       132.    At all times relevant to this cause of action, Defendant Pilgrim’s Pride regularly

conducted business in Philadelphia County.

       133.    At all relevant times, Defendant Pilgrim’s Pride was acting by and through its

agents, servants and/or employees, who were acting within the course and scope of their agency,

service, and employment with Pilgrim’s Pride.

       134.    Upon information and belief, Defendant JBS USA Holdings, Inc. is a wholly-

owned subsidiary of Defendant JBS S.A.

       135.    Upon information and belief, Defendant JBS USA Food Company is a wholly-

owned subsidiary of JBS USA Holdings, Inc.

       136.    Upon information and belief, Defendant JBS Souderton, Inc. is a wholly-owned

subsidiary of Defendant JBS USA Food Company.




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          137.   Upon information and belief, Defendant Pilgrim’s Pride is a subsidiary of

Defendant JBS USA Holdings, Inc.

          138.   Defendants, JBS S.A., JBS USA Food Company, JBS USA Holdings, Inc., JBS

Souderton, Inc., and Pilgrim’s Pride Corporation, owned, operated, managed, and otherwise

controlled the meat packing plant at 249 Allentown Road, Souderton, PA 18964 (“The JBS

Souderton Plant”).

          139.   Defendants, JBS S.A., JBS USA Food Company, JBS USA Holdings, Inc., JBS

Souderton, Inc., and Pilgrim’s Pride Corporation, by and through their agents, servants, and/or

employees, collectively and individually made decisions related to worker health, safety,

protection, and sanitation in light of the COVID-19 pandemic.

          140.   The JBS Defendants are, collectively, the world’s largest meat processor and own,

operate, manage and otherwise control more than sixty (60) meat processing plants in the United

States.

          141.   As a direct result of the carelessness, negligence, recklessness, gross negligence,

and/or other liability producing conduct of the Defendants, Plaintiff’s decedent, Enock

Benjamin, suffered illness and injuries that led to his death.

          142.   Mr. Benjamin sustained conscious pain and suffering, and fear of impending

death.

          143.   Mr. Benjamin sustained a permanent loss of earnings and loss of earning capacity.

          144.   Mr. Benjamin sustained permanent loss of enjoyment of life, loss of life’s

pleasures, and loss of life’s hedonic pleasures.




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          145.   Mr. Benjamin has been permanently prevented from performing all his usual

duties, occupations, recreational activities, and avocations, all to his and his beneficiaries’ loss

and detriment.

          146.   The outrageous conduct described herein warrants the imposition of punitive

damages to deter the JBS Defendants and meat processing plants that operate in Pennsylvania

and across the country from placing profits over the safety of their workers, their workers’

families, and the public at large.

                                              COUNT I
                  Plaintiff, the Estate of Enock Benjamin v. The JBS Defendants
                                           NEGLIGENCE

          147.   Plaintiff hereby incorporates all preceding paragraphs of this Complaint by

reference.

          148.   At all relevant times, the JBS Defendants owned, operated, maintained and

otherwise controlled the JBS Souderton Plant, and controlled and supervised the work being

done at the Plant.

          149.   Specifically, the JBS Defendants controlled and supervised all safety precautions

and procedures at the Plant, including those related to COVID-19 protection and prevention.

          150.   Control over the operations and safety decisions at the Souderton Plant were not

limited to JBS Souderton, Inc. Instead, key decisions were controlled by corporate

representatives at the parent level.

          151.   The specific decisions related to whether or not to provide PPE, whether or not to

properly distance workers, and whether or not to take other measures to prevent the spread of

COVID-19 at the Souderton Plaint were controlled by the corporate leaders in Colorado and

Brazil.



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       152.    In connection with their control and supervision of the Plant, the JBS Defendants

developed plans, recommendations, guidance, and safety procedures and specifications for

performance of work at the Plant.

       153.    The JBS Defendants, having possession and control of the Plant and the work

being done there, owed a duty to all those working at the Plant, including Enock Benjamin, a

business invitee, to provide a reasonably safe work environment, free from unreasonable and

dangerous hazards.

       154.    The negligence, gross negligence, carelessness and recklessness of the JBS

Defendants, their agents, servants, and/or employees, which were the cause of Enock Benjamin’s

death, consisted of, but was not limited to, the following:

           a. Ignoring the risk of COVID-19 infection to workers at the JBS Souderton Plant;

           b. Failing to provide workers with any equipment to help prevent the spread of

               COVID-19 at The Plant;

           c. Intentionally ignoring the fact that workers at the JBS Souderton Plant were

               infected with and/or were displaying symptoms consistent with COVID-19;

           d. Failing to provide appropriate PPE at JBS Souderton prior to March 30, 2020

           e. Failing to provide workers with any equipment to help prevent the spread of

               COVID-19 at The Plant;

           f. Failing to close the JBS Souderton Plant, despite the fact that the JBS Defendants

               knew, or should have known, that workers at the plant were suffering from

               COVID-19;




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 g. Failing to close the JBS Souderton Plant, despite the fact that the JBS Defendants

    knew, or should have known, that workers at the plant were suffering from

    symptoms consistent with COVID-19;

 h. Ignoring federal guidance from the CDC and OSHA by not mandating the use of

    masks and PPE at the JBS Souderton Plant;

 i. Ignoring federal guidance from the CDC and OSHA by not mandating and/or

    enforcing social distancing guidelines at the JBS Souderton Plant;

 j. Ignoring federal guidance from the CDC and OSHA by not mandating that

    workers who were feeling ill report their symptoms to their superiors;

 k. Ignoring federal guidance from the CDC and OSHA by not mandating that

    workers who were feeling ill stay home from work and self-quarantine;

 l. Requiring workers to stand less than 6 feet apart;

 m. Failing to implement policies and procedures that mandated workers kept 6 feet

    apart;

 n. Failing to provide workers with masks and/or PPE;

 o. Failing to provide workers with clear guidelines for social distancing;

 p. Failing to reduce the numbers of workers per shift at the JBS Souderton Plant,

    despite the fact that the JBS Defendants knew, or should have known, that

    workers in close proximity to one another were more prone to infection;

 q. Refusing to close the JBS Souderton Plant entirely in a timely fashion, even

    though the JBS Defendants knew workers at other JBS Plants across the country

    had come infected with COVID-19;




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 r. Enforcing and/or maintaining a formal and/or informal ‘work while sick’ policy at

    the JBS Souderton Plant;

 s. Failing to properly sanitize or otherwise disinfect the JBS Souderton Plant,

    despite the fact that workers at the plant were falling ill;

 t. Failing to perform temperature checks on workers arriving at the JBS Souderton

    Plant before they were allowed inside the Plant;

 u. Violating federal and state guidelines and requirements related to COVID-19

    prevention in the workplace;

 v. Violating OSHA regulations, including OSHA 1910.132, related to the use of

    PPE;

 w. Breaching their duties under various sections of the Restatement (Second) of

    Torts, including, but not limited to, § 340, et seq.; § 341, et seq.; and § 500, et seq.

 x. Failing to provide Enock Benjamin with a safe place to work;

 y. Allowing workers at the JBS Souderton Plant, including Enock Benjamin, to

    become infected by COVID-19 while working at The Plant;

 z. Failing to properly train and supervise their employees and employees of

    subcontractors about the danger posed by COVID-19 and the necessary methods

    to prevent infection;

 aa. Failing to properly train and supervise their employees and employees of

    subcontractors about federal and state guidelines regarding COVID-19 and

    federal and state guidelines to prevent COVID-19 infection;

 bb. Failing to warn Enock Benjamin and other workers at the JBS Souderton Plant of

    the danger posed by COVID-19;



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           cc. Failing to adopt, enact, employ, and enforce proper and adequate safety programs,

               precautions, procedures, measures, and plans;

           dd. Failing to provide workers with safety equipment;

           ee. Failing to provide workers with adequate safety equipment;

           ff. Failing to properly supervise and inspect the work being done at the JBS

               Souderton Plant;

           gg. Failing to prevent workers at the JBS Souderton Plant from being infected by

               COVID-19.

           hh. Failing to properly train supervisors and managers in determining when to shut

               down the plant due to a safety concerns;

           ii. Failing to provide proper training on how to combat an airborne virus;

           jj. Failing to hire and/or select appropriate individuals for managerial positions;

           kk. Failing to conduct appropriate safety surveys of the Plant;

           ll. Failing to hire appropriate consultants for how to respond to an airborne virus;

          mm.          Failing to timely obtain appropriate PPE materials to protect workers.

           nn. Failing to implement proper policies and/or procedures for shutting the Plant

               down in the face of widespread virus/pandemic;

           oo. Failing to properly consider the safety of members of the public that would come

               into contact with those who worked at the facility; and

           pp. Failure to express due care under the circumstances described herein.

       155.    The Defendants’ actions and/or inactions were substantial factors and/or factual

causes and/or increased the risk of harm to Plaintiff’s decedent.




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       156.    The acts and omissions set forth herein were done in a negligent, grossly

negligent, willful, reckless, and wanton fashion with a conscious indifference to the rights of

members of the public generally, and Plaintiff’s decedent in particular.

       WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and/or

severally, in an amount in excess of the jurisdictional threshold in compensatory damages,

punitive damages, delay damages pursuant to Pa.R.C.P. 238, interest, and allowable costs of suit,

and brings this action to recover the same.

                                            COUNT II
                 Plaintiff, the Estate of Enock Benjamin v. The JBS Defendants
                            FRAUDULENT MISREPRESENTATION

       157.    Plaintiff hereby incorporates all preceding paragraphs of this Complaint by

reference.

       158.    The JBS Defendants owed lawful business invitees at the JBS Souderton Plant,

including Enock Benjamin, the highest duty of care.

       159.    The JBS Defendants knew that workers at the JBS Souderton Plant had become

infected with COVID-19, and/or were displaying symptoms consistent with COVID-19, prior to

closing The Plant on March 30, 2020.

       160.    The JBS Defendants knew that workers at the JBS Souderton Plant were

especially susceptible to COVID-19, and knew that once one worker was infected, the virus was

likely to spread to others.

       161.    Despite this knowledge, the JBS Defendants did not warn workers that others at

the JBS Souderton Plant had become infected with COVID-19 and/or were displaying symptoms

consistent with COVID-19 prior to March 27, 2020.




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       162.    Despite this knowledge, the JBS Defendants directly misrepresented to workers

that there was no risk of infection and/or that the workers were unlikely to become infected

and/or deliberately withheld their knowledge of workers at The Plant becoming infected with

COVID-19.

       163.    The JBS Defendants fraudulently misrepresented the risk of infection to other

workers at The Plant to induce those workers to continue their employment at The Plant.

       164.    The JBS Defendants fraudulently misrepresented the risk of infection to other

workers at The Plant to induce those workers to continue making the JBS Defendants profitable.

       165.    The JBS Defendants willfully and intentionally withheld their knowledge of

COVID-19 infections at the JBS Souderton Plant.

       166.    Workers at the JBS Souderton Plant, including Enock Benjamin, relied on the JBS

Defendants’ misrepresentations and continued to arrive for work each day, completely unaware

that other workers at the plant were infected with COVID-19 and/or were displaying symptoms

consistent with COVID-19.

       167.    As a direct and proximate result of Enock Benjamin’s reliance on the JBS

Defendants’ misrepresentations, Enock Benjamin became infected with COVID-19 while

working at the JBS Souderton Plant, and died only days later.

       WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and/or

severally, in an amount in excess of the jurisdictional threshold in compensatory damages,

punitive damages, delay damages pursuant to Pa.R.C.P. 238, interest, and allowable costs of suit,

and brings this action to recover the same.




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                                           COUNT III
                Plaintiff, the Estate of Enock Benjamin v. The JBS Defendants
                          INTENTIONAL MISREPRESENTATION

       168.    Plaintiff hereby incorporates all preceding paragraphs of this Complaint here by

reference.

       169.    The JBS Defendants owed lawful business invitees at the JBS Souderton Plant,

including Enock Benjamin, the highest duty of care.

       170.    At all relevant times, the JBS Defendants represented to business invitees,

including Enock Benjamin, that it was safe for workers to arrive for their shifts at the JBS

Souderton Plant.

       171.    At all relevant times, the JBS Defendants’ representations were material to Enock

Benjamin’s presence at the JBS Souderton Plant.

       172.    The JBS Defendants’ representation that it was safe for workers to arrive for their

shifts at the JBS Souderton Plant was false.

       173.    This misrepresentation was made intentionally and knowingly.

       174.    The JBS Defendants learned they had misrepresented the risk of COVID-19

infections to workers at the JBS Souderton Plant, learned that workers at the Plant, including

Enock Benjamin, relied upon the JBS Defendants’ misrepresentations, and the JBS Defendants

failed to correct their misrepresentations.

       175.    At all relevant times, the JBS Defendants had actual knowledge of the risk of

COVID-19 infections to workers at the JBS Souderton Plant, including Enock Benjamin.

       176.    At all relevant times, the JBS Defendants had actual knowledge that workers at

the JBS Souderton Plant were infected with COVID-19 and/or were experiencing symptoms

consistent with COVID-19.



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        177.      Despite their actual knowledge of COVID-19 infections at the JBS Souderton

Plant, and the risk these infections posed to other workers, including Enock Benjamin, the JBS

Defendants kept the JBS Souderton Plant open to workers up to and through at least March 27,

2020.

        178.      The JBS Defendants’ motivation for intentionally misrepresenting the safety of

the JBS Souderton Plant was to make money and to continue to profit.

        179.      The JBS Defendants intentionally misrepresented and deceived workers into

believing that the JBS Souderton Plant was safe to ensure that workers continued to show up

each day for their shifts and to ensure that the JBS Defendants continued to profit.

        180.      Workers at the JBS Souderton Plant, including Enock Benjamin, justifiably relied

upon the JBS Defendants’ false representation that the JBS Souderton Plant was safe at all

relevant times.

        181.      The conduct of the JBS Defendants, as described above, demonstrated a reckless

disregard for the safety and health of workers at the JBS Souderton Plant.

        182.      The death and injuries sustained by Plaintiff’s decedent was caused by the

negligence, gross negligence, carelessness, recklessness, outrageous conduct and intentional

misrepresentations of the JBS Defendants, acting by and through their agents, servants, workers

and/or employees, both generally and in the following respects:

           a. Failing to close the JBS Souderton Plant despite the known dangers caused by

                  COVID-19 infections at the plant;

           b. Failing to close the JBS Souderton Plant despite the known dangers caused by

                  workers displaying symptoms of COVID-19 infections at the plant;




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           c. Failing to warn workers at the JBS Souderton Plant of the dangers posed by

               COVID-19 infections at the plant;

           d. Failing to warn workers at the JBS Souderton Plant of the dangers posed by

               workers displaying symptoms of COVID-19 infections at the plant;

           e. Exposing workers at the JBS Souderton Plant to unacceptable risks of harm;

           f. Violating applicable OSHA regulations, including the General Duty Cause;

           g. Failing to provide special precautions which would have protected workers from

               the particular and unreasonable risks of harm which the JBS Defendants

               recognized;

           h. Failing to train and supervise workers at the JBS Souderton Plant properly;

           i. Failing to adequately warn workers at the JBS Souderton Plant of the peculiar

               and/or unsafe conditions and/or special dangers existing at the JBS Souderton

               Plant;

           j. Violating and failing to comply with Federal and State statutes, local ordinances,

               and all other rules or regulations applicable or in effect, and specifically OSHA

               and CDC guidance regarding COVID-19 protection and prevention for

               workplaces and workers;

           k. Failing to adopt, enact, employ and enforce proper and adequate safety programs,

               precautions, procedures, measures and plans; and

           l. Failing to cease and/or postpone operations until proper and necessary precautions

               could be taken to safeguard workers at the JBS Souderton Plant.

       183.    The JBS Defendants’ conduct, as described above, demonstrated a wanton

disregard for the safety and health of workers at the JBS Souderton Plant.



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       184.    By reason of the intentional misrepresentations of the JBS Defendants, as set forth

above, Plaintiff’s decedent suffered an agonizing and horrific death.

       185.    By conducting itself as set forth above, the JBS Defendants’ intentional

misrepresentations were a substantial factor, a factual cause of and/or increased the risk of harm

to Plaintiff’s decedent.

       186.    The JBS Defendants’ intentional misrepresentations qualify as an exception to the

Fair Share Act, 42 Pa.C.S. § 7102, and therefore all JBS Defendants are jointly and severally

liable for the death of Enock Benjamin and all injuries related to his death.

       WHEREFORE, Plaintiff demands that judgment be entered in favor of the wrongful

death beneficiaries and against Defendants, jointly and severally, in an amount in excess of the

jurisdictional threshold in compensatory damages, punitive damages, interest, and allowable

costs of suit and brings this action to recover the same.

                                            COUNT IV
                 Plaintiff, the Estate of Enock Benjamin v. The JBS Defendants
                                      WRONGFUL DEATH

       187.    Plaintiff hereby incorporates all preceding paragraphs of this Complaint by

reference.

       188.    Enock Benjamin is survived by his son, Ferdinand Benjamin, his wife, Mireille

Benjamin, and his daughter, Debbie Benjamin.

       189.    By reason of the death of Enock Benjamin, his beneficiaries have in the past and

will in the future continue to suffer great pecuniary loss, including, but not limited to, loss of

support, loss of aid, loss of services, loss of companionship, loss of consortium and comfort, loss

of counseling, and loss of guidance.




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       190.    As a direct and proximate result of the foregoing, decedent, Enock Benjamin’s

wrongful death beneficiaries incurred or have been caused to incur and pay large and various

expenses for medical treatment, hospital care and medicine rendered to decedent until the time of

his death and to incur various funeral, burial, and estate and administration expenses for which

Plaintiff is entitled to compensation.

       191.    Plaintiff, individually and as Administratrix Ad Prosequendum of the Estate of

Enock Benjamin, brings this action by virtue of the Wrongful Death Act, 42 Pa.C.S.A. § 8301,

and Pa.R.C.P. 2202, and claims all benefits and recoverable damages under the Wrongful Death

Act on behalf of all other persons entitled to recover under law, namely Mireille Benjamin and

Debbie Benjamin.

       192.    Plaintiff brings this action by virtue of, inter alia, 42 Pa.C.S. § 8301 and claim all

damages encompassed thereby, including any and all damages members of the Estate are entitled

to under Rettger v. UPMC Shadyside, 991 A.2d 915 (Pa. Super. 2010).

       WHEREFORE, Plaintiff demands that judgment be entered in favor of the wrongful

death beneficiaries and against Defendants, jointly and severally, in an amount in excess of the

jurisdictional threshold in compensatory damages, punitive damages, interest, and allowable

costs of suit and brings this action to recover the same.

                                           COUNT V
                Plaintiff, the Estate of Enock Benjamin v. The JBS Defendants
                                         SURVIVAL ACT

       193.    Plaintiff incorporates all preceding paragraphs of this Complaint here by

reference.

       194.    Plaintiff claims on behalf of the Estate of Enock Benjamin all damages suffered

by the Estate by reason of the death of Enock Benjamin, including, without limiting the



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generality of the following: the severe injuries and symptoms suffered by Enock Benjamin,

which resulted in his death; the anxiety, horror, fear of impending death, mental disturbance,

pain, suffering and other intangible losses which Enock Benjamin suffered prior to his death; the

loss of future earning capacity suffered by Enock Benjamin from the date of his death until the

time in the future that he would have lived had he not died as a result of the injuries he sustained

by reason of the Defendants’ conduct.

       195.    Plaintiff brings this action on behalf of the Estate of Enock Benjamin, by virtue of

the Survival Act, 42 Pa.C.S.A. § 8302, and claims all benefits of the Survival Act on behalf of

Enock Benjamin’s Estate, and other persons entitled to recover under law.

       WHEREFORE, Plaintiff demands that judgment be entered in favor of the wrongful

death beneficiaries and against Defendants, jointly and severally, in an amount in excess of the

jurisdictional threshold in compensatory damages, punitive damages, interest, and allowable

costs of suit and brings this action to recover the same.



                                       SALTZ MONGELUZZI & BENDESKY P.C.

                                              By:     /s/ Robert J. Mongeluzzi
                                                      ROBERT J. MONGELUZZI
                                                      STEVEN G. WIGRIZER
                                                      JEFFREY P. GOODMAN
                                                      JASON S. WEISS

                                                      Attorneys for Plaintiff, Ferdinand Benjamin,
                                                      Personal Representative of the Estate of
                                                      Enock Benjamin




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                                                                                     Filed and Attested by the
                                                                                    Office of Judicial Records
                                                                                        07 MAY 2020 08:34 am
                                                                                            A. SILIGRINI


                                                        VERIFICATION
                     The averments or denials of fact in the foregoing document are true based upon the

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            which are inconsistent in fact, signer has been unable, after reasonable investigation, to ascertain

            which of the inconsistent averments are true, but signer has knowledge or information sufficient

            to form a belief that one of them is true. This verification is made subject to the penalties of 18

            Pa. C.S. § 4904, relating to unsworn falsification to authorities.




                     &'( %" $#$#
            DATE: _____________________                                   ______________________________
                                                                          FERDINAND BENJAMIN




                                                             &&

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SALTZ MONGELUZZI & BENDESKY P.C.                                         Filed and Attested by the
BY: ROBERT J. MONGELUZZI/STEVEN G. WIGRIZER                             Office of Judicial Records
        JEFFREY P. GOODMAN/JASON S. WEISS                                   19 MAY
                                                                     ATTORNEYS   FOR2020 11:51 am
                                                                                      PLAINTIFF
                                                                                  E. MEENAN
Identification No.: 36283/30396/309433/310446
1650 Market Street, 52nd Floor
Philadelphia, PA 19103
(215) 496-8282

FERDINAND BENJAMIN, Individually
and as the Personal Representative of the           PHILADELPHIA COUNTY
Estate of ENOCK BENJAMIN, Deceased                  COURT OF COMMON PLEAS
                                                    LAW DIVISION
                     Plaintiff

                        v.
                                                    MAY TERM, 2020
JBS S.A., JBS USA FOOD COMPANY,
JBS USA HOLDINGS, INC., JBS                         NO.: 0370
SOUDERTON, INC. And PILGRIM’S
PRIDE CORPORATION

                  Defendants




                                   AFFIDAVIT OF SERVICE

       I, Jeffrey P. Goodman, Esquire, hereby certify that service of the Complaint was made on

defendant, JBS USA Food Company, by certified mail on May 14, 2020, at 1770 Promontory Circle,

Greeley, CO 80634.

       A true and correct copy of the return receipt is attached hereto and marked as Exhibit “A.”


                                              SALTZ MONGELUZZI & BENDESKY P.C.

                                              By:     /s/ Jeffrey P. Gpoodman
                                                      ROBERT J. MONGELUZZI
                                                      STEVEN G. WIGRIZER
                                                      JEFFREY P. GOODMAN
                                                      JASON S. WEISS



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                                          Attorneys for Plaintiff, Ferdinand Benjamin,
                                          Personal Representative of the Estate of
                                          Enock Benjamin

Dated: May 19, 2020




                                                                             Case ID: 200500370
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                                                     19 MAY 2020 11:51 am
                                                           E. MEENAN




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BY: ROBERT J. MONGELUZZI/STEVEN G. WIGRIZER                             Office of Judicial Records
        JEFFREY P. GOODMAN/JASON S. WEISS                                   19 MAY
                                                                     ATTORNEYS   FOR2020 12:06 pm
                                                                                      PLAINTIFF
                                                                                  E. MEENAN
Identification No.: 36283/30396/309433/310446
1650 Market Street, 52nd Floor
Philadelphia, PA 19103
(215) 496-8282

FERDINAND BENJAMIN, Individually
and as the Personal Representative of the           PHILADELPHIA COUNTY
Estate of ENOCK BENJAMIN, Deceased                  COURT OF COMMON PLEAS
                                                    LAW DIVISION
                     Plaintiff

                        v.
                                                    MAY TERM, 2020
JBS S.A., JBS USA FOOD COMPANY,
JBS USA HOLDINGS, INC., JBS                         NO.: 0370
SOUDERTON, INC. And PILGRIM’S
PRIDE CORPORATION

                  Defendants




                                   AFFIDAVIT OF SERVICE

       I, Jeffrey P. Goodman, Esquire, hereby certify that service of the Complaint was made on

defendant, JBS USA Holdings, Inc., by certified mail on May 14, 2020, at 1770 Promontory Circle,

Greeley, CO 80634.

       A true and correct copy of the return receipt is attached hereto and marked as Exhibit “A.”


                                              SALTZ MONGELUZZI & BENDESKY P.C.

                                              By:     /s/ Jeffrey P. Gpoodman
                                                      ROBERT J. MONGELUZZI
                                                      STEVEN G. WIGRIZER
                                                      JEFFREY P. GOODMAN
                                                      JASON S. WEISS



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                                          Attorneys for Plaintiff, Ferdinand Benjamin,
                                          Personal Representative of the Estate of
                                          Enock Benjamin

Dated: May 19, 2020




                                                                             Case ID: 200500370
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                                                                  Case ID: 200500370
